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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    RICKY CONTRERAS,                                     CASE NO. C21-0679-JCC
10                            Plaintiff,                   MINUTE ORDER
11            v.

12    ROMANZOF FISHING COMPANY LLC, et
      al.,
13
                              Defendants.
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            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on the parties’ stipulation and proposed order of
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     dismissal (Dkt. No. 14). Under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), a case may be
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     dismissed without a court order if there is a “stipulation of dismissal signed by all parties who
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     have appeared.” Here, all the remaining parties that have appeared stipulate that the claims in
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     this case should be dismissed with prejudice and without an award of costs or attorney fees to
22
     any party. (Dkt. No. 14 at 1.) Thus, under Federal Rule of Civil Procedure 41(a)(1)(A), this
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     stipulation is self-executing.
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            Pursuant to the stipulation, the Court ORDERS that this case is DISMISSED with
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     prejudice and without costs or attorney fees to either party. The Clerk is directed to CLOSE this
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     MINUTE ORDER
     C21-0679-JCC
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 1   case.

 2           DATED this 12th day of October 2021.
                                                    Ravi Subramanian
 3                                                  Clerk of Court
 4
                                                    s/Sandra Rawski
 5                                                  Deputy Clerk

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     MINUTE ORDER
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